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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-064 JAM
12                                Plaintiff,             STIPULATION CONTINUING FILING AND
                                                         HEARING DATES ON DEFENDANT’S
13                          v.                           DISCOVERY MOTION; [PROPOSED] ORDER
14   GARY ROBERTS,                                       DATE: March 12, 2018
                                                         TIME: 2:00 p.m.
15                                Defendant.             COURT: Hon. Kendall J. Newman
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous motion, this matter was set for hearing on March 12, 2018. Dkt. #95.

21          2.      By this stipulation, the parties now move to continue the discovery hearing to May 7,

22 2018. In addition, they stipulate that the government’s response to the defendant’s motion will be due

23 on April 23, 2018, and that the defendant’s reply will be due on April 30, 2018.

24          3.      This continuance will allow the government attorney to meet with the case agent and to

25 continue to investigate the availability of the discovery items that the defense has requested.

26          4.      The defendant is out of custody. Dkt. #67.

27          5.      On May 4, 2017, the Grand Jury returned an indictment charging him with conspiring to

28 distribute and to possess with intent to distribute methamphetamine, a violation of 21 U.S.C. §§ 846,

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 1 841(a)(1). The Grand Jury also charged the defendant with possessing with intent to distribute

 2 methamphetamine, a violation of 21 U.S.C. § 841(a)(1). Dkt. #46.

 3         6.      The matter’s next status conference is set for April 17, 2018. Dkt. #96.

 4         IT IS SO STIPULATED.

 5
     Dated: February 13, 2018                               McGREGOR W. SCOTT
 6                                                          United States Attorney
 7
                                                            /s/ AMANDA BECK
 8                                                          AMANDA BECK
                                                            Assistant United States Attorney
 9

10
     Dated: February 13, 2018                               /s/ ETAN ZAITSU
11                                                          ETAN ZAITSU
12                                                          Counsel for Defendant
                                                            GARY ROBERTS
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16                                 [PROPOSED] FINDINGS AND ORDER

17         IT IS SO FOUND AND ORDERED this 14th day of February, 2018.

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20                                                     THE HONORABLE EDMUND F. BRENNAN
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIP. CONTINUING FILING AND HEARING DATES ON
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      DEFENDANT’S DISCOVERY MOTION; [PROPOSED] ORDER
